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                                                          UNITED Sl ATES DISTRICT COURT

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                           Federal Trade Commissio n
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                                                     \-                                                               i v il Ac ti on         0,        1'13-CV-0102 1 (RMC )
                            Ardagh Group SA , et al
                                                                                                                   ( II rh,' aClioll   h   p' lldill~    in anoth er cii srr i..:r stHl~ \\hlTC
                                            O<'/encianf


                                           SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTIO

  To , Big Sky Brewing Co" clo Legal Dept , 54 17 Trumpeter Way Missoula , MT 59808


           if
           TestllllOny YO ARE COMMANDED to appea r at the time. date. and place sel forth below to Icstif) at u
 deposit ion 10 be taken in thi s c[\' il ac tion, If you are an organ iza tion tbat i!> nOl a pany in lhi:; cast:. yo u mu st designate
 o lle or more ofTicers. d irectors. or managing agents, or designate ot her perso ns who consclllLO Ie, [i fy on yo ur behalf
 abo ut lhe followi ng malters. or [11 se set forth in an attachment:
 See Schedule A , Deposition noticed pursuant to Federal Rule of Civil Procedure 30(b)(6 )

                                                                                                                        -    -    ..
   Place: Shearman & Sterling LLP                                                                                    Date and Time :
                801 Pennsylvania Ave nue, NW
                                                                                                                                                   08/05/2013900 am
                Washln gton _DC ~000 4 _ . ~...

                Th e depos it ion wi ll be record ed by thi s meth od:                                Court ReQQrte[Nid_eo..Qrapher

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            The provis ion oC Fed, R, C i \', p, ..\5(c), relating to yo ur protecti on as a perso n subject to a subpocna, and Rule
 ..\5 (d ) and (e). re lilling 10 your dmy to respond 10 this , uhpoena and the pote mial cOllsequ !lees of not do ing so , are
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                                 _                                                                                          __ wl1(1       i s 'lle ~   or rcqu.:, ts this subpoena , :m:
RIchard Schweo , Shearman & Sterl ing LLP , 599 Lexington AvenUE: , New yo rk, NY 10022
rschwed@she arm ancom (2 12) 848-544 5



                                                                                                                                                                                Exhibit A
                          Case 1:13-cv-01021-BJR Document 47-1 Filed 08/02/13 Page 2 of 6


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Case 1:13-cv-01021-BJR Document 47-1 Filed 08/02/13 Page 3 of 6




                                                             Exhibit A
         Case 1:13-cv-01021-BJR Document 47-1 Filed 08/02/13 Page 4 of 6




           This Subpoena              Testificandum (the "Subpoena"') requires YOlI to cause the person or



to                              .r fOI    )osit        at th    nee      0     heal                   ling      ',80        ~nns:     ma

Avenue N.W., Washington D.C. on August 5,2013. Pursuant to Federnl Rule (lfCivil Procedure

30(b)t6), you are required to designate one or more of your principals. employees, or agents who

COl      It to         ify (    our       eM a         Ire n     knc - dge:                 as t      ese       cs.         )U   be   re

tha' "; req-d da'- --'ouk' " - und                L.   burd-nsome, '         -'l   rna-! contac' '"'-ra A .... ·cear.1· '_, disl'      a

mutually agreeable altemative date. All modifications to this Subpoena must be agn;ed to in writing.

                                                          D....... 1NI'.. 4"'NS

           1.                             nsa<         I" m     ~   Ar         h Gr                   anti,'    ted    l    tisiti

Saint-Gobain Containers, Inc.

           2.          "Y ou" and "your"' mean the entity that received this Subpoena and any of its

present or fonner employee                reprl        Itati'   . ageLs, or aT:' other r            _..·son~   ~ting       _'Urpl     Ig tc

act , __ its b    1   ·If or .' ts di    'ion or control,       includi:-'~        its attorneys.

                               TOPICS ON WHICH ,\fITNESS WILL TESTIFY

           1.          Corupditiol.1 W the P1\J\:iuction,        packa.~jng,           distribution, markl;;ling a.uJ/or selling

of~'     s be         - r spi··- bort' -s, including cornpetiti                ~ith        l-gla    ' 'eer or spirits ccntaiL _ and

VIC"   "":l'sa.

          2.           Your purchases of glasB beer or spirits hottles andior non-glass beer or spirits




beer or spirits.




                                                                                                                                 Exhibit A
       Case 1:13-cv-01021-BJR Document 47-1 Filed 08/02/13 Page 5 of 6




           3.         The comparative costs, benefits, strengths, andlor weaknesses of                               non-glass,

glass ir              md/or n<            impOlts            agmgm            )f   beer a                  ,irits, inc

their re              •interch,           ity.

           4.         The viability andlor costs or delays associated with switohing the packaging of

your pr               rom glm -           ,ndlor sp' .       tles to   n~      beer an~                   , its conta           .d

vice vel0a.

           5.         The contribution           oontainer material to brand identity or consumer preferences

for beel              ts, inc1u           lsumer p           :;es betw        ,s beer 0                    bottles a

non-glass beer or spirits containers.

           6.         Your analysis of the market for beer or spirits in the United States, including but

not limited to trends, custo          , profiles, distribution ohann_._, ___ld input requirements by segment

such as "mass" (or "large domestic") beer, imports, and craft beers.

           7.        Your cor...... ~..~ "rith suppliers c,c glass be- n_A/or spirits      l..~.... l~n   'lnd   non-~l-,,":s


beer an -,           . its   cont~    . [lce Janu __ /    ,2008, inel        .etails re!                   ~ach    neg

phase for each contract (e.g., requests for proposals, draft proposals, bids received, and analyses

of bids receivei).

                      \ny outst       _   request~           posal or competitive bid         0            ss beer ~

spirits bottles and non-glass beer andlor spirits containers.

                      (our cril           'equirem           determi          ether as                     Df glass -

and lor splliil; bottles or non-glass beer and/or spirits conwllu:;n; is acceptuble v:.g., proxiruil,Y,

quality,   s~"--:   - - and prir-) as well as an"            :,tion of ~    " ,.lier' s past or p          ~sent


performance.




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                                                                                                                    Exhibit A
      Case 1:13-cv-01021-BJR Document 47-1 Filed 08/02/13 Page 6 of 6




        10.    Your efforts to incentivize or induce consumers to switch from glass beer andlor

spirits bottles to non-glass beer andlor spirits containers and vice versa.

        11.    Your assessment of the likely competitive impact of the Proposed Transaction.

        12.    Any issues raised or statements made in any declarations given by you or any of

your principals, employees, or agents to the Federal Trade Commission in connection with its

investigation of the Proposed Transaction.


Dated: New York, New York
       July 26, 201 3

                                               SHEARMAN & STERLING LLP

                                                      By: lsi Richard F Schwed
                                                          Richard F. Schwed
                                                          Alan S. Goudiss
                                                          Heather L. Kafele

                                              599 Lexington Avenue
                                              New York, New York 10022
                                              Telephone: (212) 848-4000
                                              Facsimile: (212) 848-7179
                                              rschwed@shearman.com

                                               Counsel f or Defendant Ardagh Group S.A.




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                                                                                          Exhibit A
